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                                                                          U.S. DISTRICT COURT E.D.N.Y.


 JJ D:EMR/MEF/PP
 F. #2023R00737                                                           * OCT 17 2024 *
                                                                          LONG ISLAN D OFFICE
 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA                                   I N DI CT M ENT

        - against -                                        CrN{;~24
                                                           (T. 18, ~ -~
                                                                                                      423
                                                                            § 159 I(a)( l), 159 1(a)(2),
 MICI-IAEL S. JEFFRIES,                                     159 1(b)(I), I594(d), 2422(a), 2428(a), 2 and
 MATTHEW C. SM ITH and                                      355 1 _g~.; T. 2 1, U.S.C., § 853(p))
 JAMES T. JACOBSON,
        also known as '•Jim Jake,"
        "Mrs. Cook" and "Todd,"                               CHOUDHURY, J.
                          Defendants.
                                                                          TISCIONE, M.J.

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 THE GRAND JURY CHA RGES:

                                         INTRODUCTION

                At al l times relevant to this Indictment, un less otherwise indicated:

 1.     The Defendants and Relevant Entities

                I.      From approximately 1992 to 20 14, the defendant MICHA EL S.

 JEFFRIES was the Chief Executive Officer ('"CEO") of Abercrombie & Fitch Co.

 ("Abercrombie"), a fashion clothing retailer that owned and operated retail stores around the

 world. The Jeffries Family Offi ce (the "JFO") was establi shed to manage JEFFRIES' personal

 income and assets, which included properties in Watermill , New York and New York, New York

 (the "New York Properties"), among others.

                2.     The defendant MATTHEW C. SMITH was the defendant MICHAELS .

JEFFRIES ' romantic partner, as well as an employee of the JFO. In add ition to managing

 assets, the JFO employed personnel who facil itated JEFFRIES and SMITH's personal and social
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 lives by, among other things, arranging their travel and managing their properties and financial

 affairs.

                   3.     The defendant JAM ES T. JACOBSON, also known as '•Jim Jake," " Mrs.

 Cook" and "Todd," was employed by the defendants MICHAELS. JEFFR IES and MATTHEW

 C. SMITH to recruit, interview and hire men to perfo rm commercial sex acts fo r JEFFRIES and

 SMTTH, including at the New York Properties.

 11.        The Sex Traffi cking and Prostitution Business

                   4.      From approximately 2008 to 201 5, the defendants MICHAEL S.

 JEFFRIES, MATTH EW C. SM ITH and JAMES T. JACOBSON, together with others, operated

 an international sex traffickin g and prostitution business. During this period, JEFFRI ES and

 SMITH relied on their vast financial resources, JEFFRI ES ' power as the CEO of Abercrombie,

 and numerous people, includi ng JACOBSON and a network of employees, contractors and

 security professionals, to run a business that was dedicated to fulfilling their sexual des ires and

 ensuring that their international sex trafficking and prostitution business was kept secret, thereby

 maintaining JEFFRI ES' powerful reputation.

                   5.     As part of this international sex trafficking and prostitution business, the

 defendants MICHAELS. JEFFR IES and MATTHEW C. SMITH paid for dozens of men.

 including, among others, John Does # I through # 15, individuals whose identities are known to

 the Grand Jury, to travel within the United States and internationa lly to meet JEFFRIES and

 SMITH in various locations, inc luding at the New York Properties, as well as in hotels in such

 places as England, France, Italy, Morrocco and Saint Barthelemy, for the purpose of engaging in
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 commercial sex acts with JEFFRIES, SMITH and others (the "Sex Events"). Some of the men

 traveled to and were paid to attend multiple Sex Events.

                6.      The defendants MICHAELS. JEFFRIES and MATTHEW C. SMITH,

 thro ugh the JFO, recruited, hired and paid an exclusive set of househo ld staff (the "Staff') to

 facilitate and supervise the Sex Events. Among other things, the Staff tra nsported men to and

 from the Sex Events, arranged physical spaces for the Sex Events and supervised the me n who

 attended, including, among other things, facilitating the conduct descri bed below in Paragraphs 9

 to 11.

                7.      At the direction of the defendants MICHAELS. JEFFRIES and

 MATTHEW C. SMITH, the Staff were present at, observed and acted as security for, including

 by contro lling entry and exit, the Sex Events. T he Staff also prov ided JEFFRIES, SMITH and

 the men who attended w ith alcoho l, muscle relaxants known as "poppers," lubricant, Viagra and

 condoms, among other items. As directed by JEFFRIES and SM ITH, the Staff also directed

 men to, among other things, wear costumes, use sex toys or prepare for partic ular sexual acts.

 E ither the defendant JAMES T. JACOBSON or the Staff paid the men for attending the Sex

 Events.

                8.      The defendant JAMES T. JACOBSON traveled throughout the United

 States and international ly to recruit and interview men for the Sex Events. During " tryouts" of

 potential candidates, JACOBSON typically required that the candidates first engage in

 comme rcial sex acts w ith him. Following the tryout by JACOBSON, the defendant

 MATTHEW C. SMITH approved candidates prior to their selection for and transportation to a
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 Sex Event. At the direction o f SM ITH, JACOBSON paid fees to individuals w ho successfully

 referred men w ho were s ubsequently selected .

                9.      The defendants MICHAELS. JEFFRIES, MATTH EW C. SMITH and

 JAMES T. JACOBSON, and othe rs acting at the ir direction, employed coercive, fraudulent and

 deceptive tactics in connection w ith the recruitment, hiring, transportation, obtai ning,

 maintaining, so licitation a nd payment of the men to engage in commercial sex. For example,

 JEFFRJES, SM ITH, JACOBSON and others acting at their direction:

                        (a)     employed a referral system and interview process that failed to

 inform men o f the deta ils of the Sex Events before they attended, including the full extent and

 nature of the sexua l activ ity that would be required of the men at the Sex Events, inc luding,

 among other th ings, ana l intercourse; the insertion of large sex toys into the anus; and high-

 pressured e nemas admini stered by inserting a hose into the anus;

                        (b)     requ ired that prospective candidates first participate in a sexua l

 encounter or tryout, w ith JACOBSON, at times without advance notice;

                        (c)     ca used men to believe that attending the Sex Events cou ld yield

 modeling opportun ities with Abercrombie o r otherwise benefit their careers, or, in the

 alternative, that not complying with requests for certa in acts during the Sex Events could harm

 their careers, including by, among other thi ngs, referring directly and indirectly to modeling

 opportunities that did not exist; incorporating Abercrombie products in the Sex Events; and

 provid ing men w ith itineraries for the Sex Events that did not refer to commercial sex, and

 instead resembled those often sent to models for photo shoots, thereby obscuring the nature of

 the Sex Events from the men selected to attend;
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                          (d)   physically groomed men prior to the Sex Events, includi ng at times

 shaving men 's geni tals without advance notice;

                          (e)   required men to relinquish their personal items, including clothing,

 wallets and cellu lar phones, and store them in an inaccessible location during the Sex Events;

                          (f)   req uired men to sign non-disclosure agreements, which, among

 other things, prohibited the disclosure of information about the Sex Events, including to their

 own fam ily and fri ends, and required the payment of damages in the event of a breach;

                          (g)   intentionally recruited heterosexual men, certain of whom were

 unwil ling to engage in particu lar sex acts, includ ing anal sex, and insisted that men who

 previously stated they were unwill ing to engage in particular sex acts, includ ing anal sex,

 nonetheless engage in such acts during the Sex Events;

                          (h)   pressured men to consume alcohol, Viagra and muscle relaxants

 known as " poppers," during the Sex Events; and

                          (i)   requ ired the presence of the Staff during the sexual activity, and

 ensured that men attending did not leave the Sex Events until JEFFRIES and SMlTH decided

 they were over.

                   l 0.   On more than one occasion, the defendants MICHAELS. JEFFRIES and

 MATTHEW C. SMITH either directed others to or personally injected men in their pen ises with

 a prescription-grade erection-inducing substance fo r the purpose of causing the men to engage in

 sex acts in which they were otherwise physical ly incapable or unwi lli ng. Notwithstanding the

 fact that these injections were not medically indicated and frequentl y caused the men to suffer

 pa inful physical reactions that lasted for several hours, .J EFFRIES and SMITH employed their

 use to fu lfi ll their own sexual desires by causing men to submit to them.
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                  I I.    On more than one occasion, the defendants MICHAEL S. JEFFRIES and

 MATTHEW C. SMITH engaged in sex acts, continued to engage in sex acts, or caused men to

 engage in sex acts, including but not limited to ana l penetration a nd t he use of high-pressured

 enemas, to wh ich the men did not or were unable to consent.

                                                COUNT ONE
                                              (Sex Trafficking)

                  12.     The allegations contained in paragraphs one through 11 are realleged and

 incorporated as if full y set fo rth in thi s paragraph.

                  13.     In or about and between December 2008 and March 20 15, both dates

 being approxi mate and inc lusive, w ithin the Eastern Di strict o f New York and e lsewhere, the

 defendants MI CHAEL S. JEFFRIES, MATTHEW C. SMITH and JAMES T . JACOBSON, also

 known as ·'Jim Jake," '·Mrs. Cook" and '·Todd," together w ith others, did knowingly and

 intentionally recruit, entice, harbor, transport, provide, obtain and maintain by any means one or

 more persons, in and affecting inte rstate commerce, and did bene fit, financ ia lly and by receiving

 anything of value, from participation in a venture which engaged in such acts, know ing and in

 reckless disregard of the fact that means o f force, threats of force, fraud and coercion, as

 described in T itle 18, United States Code, Section 1591 (e)(2), a nd a combination of such means,

 would be used to cause such persons to engage in one or more commercia l sex acts, which
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 offense was effected by means of force, threats of force, fraud and coercion, and a combination

 of such means.

                  (Title 18, United States Code, Sections 159l(a)( l ), 1591(a)(2), 159l(b)( l ), 2 and

 355 1 etllil,)

                                COUNTS TWO THROUGH S IXTEEN
                                     (Interstate Prostitution)

                  14.    The allegations contained in paragraphs one through I I are realleged and

 incorporated as if full y set forth in this paragraph.

                  15.    In or about and between December 2008 and March 20 15, both dates

 being approximate and inclusive, w ithin the Eastern Di strict of New York and elsewhere, the

 defendants MICHAELS. JEFFRIES, MATTHEW C. SM ITH and JAMES T. JACOBSON , also

 known as --Jim Jake,'' --M rs. Cook" and --Todd,'' together with others, d id knowingly and

 intentionally persuade, induce, entice and coerce individuals to travel in interstate and fore ign

 com merce to engage in prostitu tion, as described below.

  COUNT                  fNDIVfDUAL                       APPROXIMATE DATE(S)

  TWO                   John Doe # 1                      December 2008 to February 20 I 0

  T HREE                John Doe #2                       December 2008 to June 20 12

  FOUR                  John Doe #3                       August 2009 to December 20 12

  FIVE                  John Doe #4                       January 2009 to February 2009

  S IX                  John Doe # 5                      March 20 IO to April 20 11

  SEVEN                 John Doe #6                       October 20 IO to February 20 12

  EIGHT                 John Doe #7                       December 20 IO to June 20 11

 NrNE                   John Doe #8                       May 20 11
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  COUNT                INDIVLDUAL                     APPROXIMATE DA TE(S)

  TEN                  John Doe #9                    July 20 11 to April 20 12

  ELEVEN               John Doe # I0                  August 20 I I to February 20 13

  TWELVE               John Doe # 11                  March 20 12 to June 2012

  THIRTEEN             John Doe # 12                  March 20 L2 to October 201 2

  FOURTEEN             John Doe # 13                  May 20 12 to March 20 15

  FI FTEEN             John Doe # 14                  September 20 12 to November 20 12

  SIXTEEN              John Doe # 15                  October 20 12


                (Ti tle 18, United States Code, Sections 2422(a), 2 and 355 1 et ~ -)

                              CRI MINA L FORFEITURE ALLEGATIO
                                       AS TO COUNT ONE

                 16.    The United States hereby gives notice to the defendants that, upon their

 conviction of the offense charged in Count One. the government will seek forfeiture in

 accordance with Title 18, United States Code, Section I594(d), of: (a) any property, real or

 personal, that was invo lved in, used, or intended to be used to commit or to fac ilitate the

 commiss ion of such offense, and any property traceable to such property; and (b) any property,

 real or personal, constituting, or derived from, proceeds obtained directly or indirectly as a result

 of such offense, or any property traceable to such property.

                 17.    If any of the above-described fo rfeitable property, as a result of any act or

 omission of the defendants:

                        (a)     cannot be located upon the exercise of due diligence;

                        (b)     has been transferred or so ld to, or deposited with, a third party;

                        (c)     has been placed beyond the jurisdiction of the court;
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                          (d)     has been substantia lly dim inished in val ue; or

                          (e)     has been comm ingled with other property which cannot be divided

 without difficulty;

 it is the intent of the United States, pursuant to T itle 2 1, United States Code, Section 853(p), to

 seek forfeiture of any other property of the defendants up to the value of the forfeitable property

 descri bed in thi s forfeiture allegation.

                  (Title 18, United States Code, Section l 594(d); Title 2 1, United States Code,

 Section 853(p))

                             C RIMINAL FORFEITURE ALLEGATION
                            AS TO COUNTS TWO T HROUGH SIXTEEN

                  18.     The United States hereby g ives notice to the defendants that, upon thei r

 conv iction of any of the offenses charged in Counts Two through Sixteen, the government will

 seek forfe iture in accordance with T itle 18, United States Code, Section 2428(a), which requires

 the fo rfeiture of: (a) any property, real or personal, that was used or intended lo be used to

 commit or to fac il itate the comm ission of such offenses; and (b) any property, real or persona l,

 constituting, or derived from , proceeds obtained directly or indirectly as a resu lt o f such offenses.

                  19 .    l f any of the above-described forfeitable property, as a result of any act or

 om iss ion of the defendants :

                          (a)     cannot be located upon the exercise of due diligence;

                          (b)     has been transferred or sold to, or deposited w ith, a third party;

                          (c)     has been placed beyond the jurisdiction of the court;

                          (d)     has been substantially d iminished in value; or

                          (e)     has been comming led w ith other property which cannot be divided

 w ithout difficu lty;
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  it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to

  seek fo rfe itu re of any other property of the defendants up to the va lue of the forfe itable property

  described in this forfei ture allegation.

                  (Title 18, United States Code, Section 2428(a); Title 21, United States Code,

  Section 853(p))




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  BREON PEACE
  UN ITED STATES ATTORNEY
  EASTERN DISTRICT OF NEW YORK
